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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

                                    :
UNITED STATES OF AMERICA
                                    :

     v.                             : Criminal No. DKC 95-0267-007

                                    :
DUVALL HUCKS
                                    :

                                  ORDER

     Pending before the court is a motion for a reduction of

sentence (ECF No. 635) filed by Defendant Duvall Hucks.                The

government filed a response in opposition (ECF No. 656).

     On October 7, 1996, this court sentenced Mr. Hucks to life

imprisonment for conspiracy to distribute cocaine and possession

with intent to distribute cocaine.        At sentencing the court adopted

the factual findings and guideline applications in the Presentence

Report and determined that Petitioner’s total offense level was 46.

After the application of Amendment 782, Mr. Hucks’ base offense

level is reduced by two, resulting in an adjusted total offense

level of 44.   Under the current sentencing guidelines, Mr. Hucks’

sentencing range remains life imprisonment.

     Accordingly, it is this 2nd day of February, 2016, hereby

ordered by the United States District Court for the District of

Maryland that:

     1.   Mr. Hucks’ motion for a reduction of sentence (ECF No.

635) BE, and the same hereby IS, DENIED; and
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     2.   The Clerk is DIRECTED to provide a copy of this Order to

counsel and Mr. Hucks.




                                            /s/
                                  DEBORAH K. CHASANOW
                                  United States District Judge




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